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 4                       UNITED STATES DISTRICT COURT
                              DISTRICT OF NEVADA
 5                                   -oOo-
 6   UNITED STATES OF AMERICA,                       )
                                                     )    Case No.: 2:04-cr-00038-LDG-GWF
 7          Plaintiff,                               )
                                                     )    ORDER
 8                                                   )
            vs.                                      )
                                                     )
 9   GREG CARTER,                                    )
                                                     )
10          Defendant.                               )
                                                     )
11
            This matter coming on the Petition by the     United States Probation Office to Revoke
12
     Term of Supervision (#330), the premises therein having been considered and a hearing
13
     conducted, the Court Orders as follows:
14
            1.       Defendant Carter is continued on the same terms and conditions of supervised
15
     release.
16
            2.       Defendant Carter will continue to make payment toward restitution on a schedule
17
     of $100 per month until such time as the judgment of restitution is satisfied or ordered otherwise
18
     by the Court.
19

20                   IT IS SO ORDERED.
                     DATED this ___ day of January, 2014.
21
                  __________________________
22                     Lloyd                                    D. George
                                                           __________________________________
                        United                                  States District
                                                                    Lloyd       Judge
                                                                           D. George
23
                                                                 Sr. U.S. District Judge
24
